           Case 1:18-cv-01928-JDB Document 15 Filed 11/21/18 Page 1 of 21



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
________________________________________ )
BRANDON MONTGOMERY                        )
                                          )
       Plaintiff,                         )
                                          )
               vs.                        )    CIVIL ACTION NO.: 18-cv-1928 (JDB)
                                          )
THE DISTRICT OF COLUMBIA, et al.          )
                                          )
                                          )
       Defendants.                        )
 ________________________________________ )


       PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO
          DEFENDANTS’ MOTION FOR PARTIAL DISMISSAL OF THE COMPLAINT

                                                    INTRODUCTION

         For almost forty years, a reasonable District of Columbia police officer would have known that it

is unconstitutional to interrogate and extract a statement from a mentally ill suspect because “our system

of law enforcement should not operate so as to take advantage of a person in this fashion.” U.S. v.

Jackson, 404 A.2d 911, 924 (D.C. 1979) quoting Blackburn v. Alabama, 361 U.S. 199, 207,

(1960).1 Likewise, a reasonable District of Columbia police officer would know that it violates the law

and grievously trespasses the Constitution to suppress evidence and to fabricate evidence against a

citizen. The Defendants initiated first degree murder charges against Gary Montgomery, a mentally ill

homeless man who was experiencing an active episode of psychosis during his interrogation, and

deliberately suppressed exculpatory evidence for half a decade showing that another person committed

the murder. Mr. Montgomery was an easy target because he was mentally ill and homeless. However,

he was innocent and the Defendants had evidence pointing to the actual killer.


1 Federal courts have long recognized that the decisions of the highest court of a jurisdiction constitute clearly established
law. See Jenkins v Talladega City Bd. Of Ed., 115 F.3d 821, 826, n. 4 (11th Cir. 1997) (explaining “in this circuit, the law can
be “clearly established” for qualified immunity purposes only by decisions of the U.S. Supreme Court, Eleventh Circuit
Court of Appeals, or the highest court of the state where the case arose”)
           Case 1:18-cv-01928-JDB Document 15 Filed 11/21/18 Page 2 of 21



         This case turns on a knowing violation of Mr. Montgomery’s constitutional rights. The United

States Supreme Court has long recognized that the doctrine of qualified immunity protects “all but the

plainly incompetent or those who knowingly violate the law.” Malley v. Briggs, 475 U.S. 335, 341,

(1986). This case falls into latter category of police officers –those who act deliberately to violate the

constitutional rights of citizens, in this case an innocent, mentally ill, homeless man.2

         The government has gratuitously mischaracterized and misstated both the nature of Plaintiff’s

claims and the applicable law that applies to whether Plaintiff’s complaint states claims upon which

relief may be granted. First, Brady v. Maryland, 373 U.S. 83 (1963) has always applied to

“proceeding[s]” other than trials on the merits. Second, the Fifth Amendment’s Due Process Clause

requires any deprivation of liberty – whether pretrial or post-trial – to comport with due process of law.

The five-and-a-half year suppression of evidence showing that another suspect committed the homicide

at issue violated Mr. Montgomery’s clearly established right to due process and resulted in a deprivation

of liberty. Third, this Court, as have other federal courts, has recognized and held that 42 U.S.C. §§

12131, Americans With Disabilities Act (“the ADA”), and 29 U.S.C. § 794(a) (“the Rehabilitation Act”)

authorize a cause of action when law enforcement officers fail to accommodate a suspect’s disability

during an interrogation. See Sacchetti v. Gallaudet University, 181 F. Supp. 3d 107, 129 (D.D.C. 2016);

Seremeth v. Board of County Com’rs Frederick County, 673 F.3d 333 (7th Cir. 2012) (holding ADA

applies to police interrogations). The government has twisted the applicable law, such as arguing

Plaintiff must plead he was denied the benefit of a program or was unable to participate in a program.

This argument is as facile as it is specious.




2 It should be noted that under long-standing qualified immunity jurisprudence, a police officer “can still be on notice that
their conduct violates established law even in novel factual circumstances.” Hope v. Pelzer, 536 U.S. 730, 741 (2002). The
legal significance of this aspect of qualified immunity law means a police officer official could be deemed to have notice that
the subject conduct violated a person’s constitutional right even if there existed at the time no case with materially similar
facts. Id. at 739
         Case 1:18-cv-01928-JDB Document 15 Filed 11/21/18 Page 3 of 21



       Defendant Brian Wise knew Mr. Montgomery was experiencing psychosis during Mr.

Montgomery’s interrogations. Still, Defendant Wise failed to provide a reasonable accommodation and

employed a coercive technique, the Reid technique, that can elicit false confessions from mentally ill

persons. Moreover, the District of Columbia had actual or constructive notice such that it was

foreseeable that MPD officers would deny mentally ill suspects needed accommodations during

interrogations. Federal courts have long recognized that even when a mentally ill person may not have

literally asked for a reasonable accommodation, a failure to accommodate claim can be stated when the

defendant was aware of the person’s need for an accommodation. See e.g Bultemeyer v. Fort Wayne

Community Schools, 100 F.3d 1281(1996). Fifth, while purportedly espousing the applicable standards

for stating a plausible claim under Rule 8 and the standards for deciding a 12(b)(6) motion, the

government, however, engages in a bait and switch and invites this court to impose a heightened

pleading standard – the very standard that the Supreme Court in Swierkiewicz v. Sorema N. A., 534 U.S.

506 (2002) and again in Bell Atlantic Corp. v Twombly, 550 U.S. 544, 570 (2007).

       The Defendants have waived any purported argument alleging the allegations in Count V are

insufficient because the Defendants have not cited one case or advanced one argument related thereto.

                                                  FACTS

       Brandon Montgomery (“Plaintiff”), on behalf of the Estate of Gary Montgomery (“Mr.

Montgomery”), filed this lawsuit alleging civil rights violations. Mr. Montgomery was a 55-year old

mentally disabled man who in February of 2012 was arrested and incarcerated for five and a half years

for a murder he did not commit and of which he was completely innocent. After five and a half years of

being incarcerated at the District of Columbia Jail and St. Elizabeths Hospital, respectively, a District of

Columbia jury found Mr. Montgomery not guilty of the murder of Ms. Deoni JaParker Jones. Dkt. Entry

1 ¶ 1. Within hours of the murder, the Defendants were in possession of evidence that demonstrated Mr.

Montgomery was not the person who had murdered Ms. Jones. However, the Defendants failed to
         Case 1:18-cv-01928-JDB Document 15 Filed 11/21/18 Page 4 of 21



pursue the actual killer of Ms. Jones, and instead unconstitutionally fabricated and otherwise coerced

Mr. Montgomery to make statements (that the MPD and the government would later claim were

inculpatory), and intentionally withheld exculpatory evidence MPD obtained hours after the murder

from Mr. Montgomery’s defense lawyers until 48 and 72 hours before the start of his trial on July 31,

2017. Dkt. Entry 1 ¶ 3. This exculpatory evidence was intentionally suppressed and not disclosed to Mr.

Montgomery’s defense counsel at the time of his February 23, 2012 Preliminary and Detention

Hearings. Dkt. Entry 1 ¶ 4. The exculpatory statement of an eyewitness to the murder who physically

fought with the killer in an attempt to subdue him and hold him for police was given to Mr.

Montgomery’s defense counsel only 72 hours before the start of his July 31, 2017 trial. Dkt. Entry 1 ¶ 5.

During the investigation of this case, neither Defendant Brian Wise nor any other MPD officer—in five

and a half years—ever asked the eyewitness who pursued and briefly subdued the murderer to

participate in an identification procedure. Dkt. Entry 1 ¶ 6. A critical (and exculpatory) five minute piece

of video footage showing the actual killer fleeing from the scene, dressed consistently with what the

eyewitness to the murder told police minutes after the murder, was not provided to Mr. Montgomery’s

defense counsel until 48 hours before his trial, depriving them of the opportunity to locate other video

footage of the killer fleeing the murder scene early in the case, otherwise investigate important leads,

and make use of these materials at the preliminary/detention hearing and other crucial stages in the

criminal case. Dkt. Entry 1 ¶ 7. DNA testing was conducted on clothes MPD recovered from the crime

scene—clothes MPD believed were left by the murderer—and Defendants obtained a full male DNA

profile. This full male DNA profile did not match the decedent or Mr. Montgomery and the results

excluded Mr. Montgomery as the murderer. Dkt. Entry 1 ¶ 10. The Defendants, in 2012 and at no time

thereafter made any attempts to compare the DNA profile obtained from the clothing to the DNA profile

of another suspect who two callers/tipsters identified and which suspect Defendant Wise interviewed

five days after the murder, who placed himself on the scene of the murder during that interview. Dkt.
         Case 1:18-cv-01928-JDB Document 15 Filed 11/21/18 Page 5 of 21



Entry 1 ¶ 11. Defendants also failed to enter the DNA profile from the clothing found at the murder

scene into CODIS. The Defendants never looked beyond the “ready-made” suspect, despite compelling

evidence that Mr. Montgomery was not the person responsible for Ms. Jones’ murder. Dkt. Entry 1 ¶ 12.

During Mr. Montgomery’s February 4, 2012 and February 10, 2012 interrogations, he exhibited obvious

signs of active psychosis. Dkt. Entry 1 ¶ 13. In gross violation of the United States Constitution,

Defendant Brian Wise fed Mr. Montgomery non-publicly disclosed details about the murder known only

to the killer and the police and then used Mr. Montgomery’s fractured thoughts and sentences—the

result of over eight hours of interrogation—to paste together what Defendants would declare were

incriminating and inculpatory statements. Dkt. Entry 1 ¶ 14. The fact that Mr. Montgomery had a mental

illness was plainly apparent to Defendant Brian Wise who conducted the nearly six-hour interrogation of

Mr. Montgomery on February 4, 2012. Dkt. Entry 1 ¶ 16. Mr. Montgomery’s psychosis, marked by

fractured thoughts and disconnected sentences, prompted Defendant Brian Wise to ask Mr. Montgomery

if he had a mental illness. In response to another inquiry by Detective Wise about whether Mr.

Montgomery had a mental health issue, Mr. Montgomery told Detective Wise, “if I’m talkin to myself

I’ll- you know, I’ll go to a psychiatrist.” Dkt. Entry 1 ¶ 17.

       The video footage of Mr. Montgomery’s February 10, 2012 interrogation shows him in an even

more agitated psychotic state, hearing voices and speaking to those voices. Dkt. Entry 1 ¶ 18. Defendant

Brian Wise employed coercive interrogation techniques that were unconstitutional and discriminatory

because he knew or should have known Mr. Montgomery had a mental illness and needed an

accommodation to ensure Mr. Montgomery understood the questions asked and the purpose of the

interrogation and was able to communicate and respond to the questions directed at him during the

interrogation. Dkt. Entry 1 ¶ 19. Defendant Wise intentionally fed Mr. Montgomery facts about the

murder in an effort to exploit Mr. Montgomery’s mental illness and fabricate a confession. Dkt. Entry 1

¶ 20. Because Mr. Montgomery was experiencing psychosis during both his February 4, 2012 and
           Case 1:18-cv-01928-JDB Document 15 Filed 11/21/18 Page 6 of 21



February 10, 2012 interrogations, he exhibited a clear and unequivocal contextual processing deficit, as

evidenced by his disorganized, disjointed, and fractured sentences and responses. Dkt. Entry 1 ¶ 22. The

Defendants failed to make any modification or accommodation to their interrogation of Mr.

Montgomery to ensure he was able to communicate and understand the information given to him and

instead set about to fabricate a confession from Mr. Montgomery. Defendants’ grossly unconstitutional

conduct resulted in MPD obtaining unreliable and bad information that was the result of

unconstitutionally coercive interrogation methods that violated Mr. Montgomery’s rights under the

Fourth and Fifth Amendments and his rights under Title II of the Americans With Disability Act and

Section 504 of the Rehabilitation Act, not to be the subject of discrimination. Dkt. Entry 1 ¶ 23.

                                                STANDARD OF REVIEW

         Bell Atlantic Corp. v Twombly, 550 U.S. 544, 570 (2007) does not impose a regime of

“heightened fact pleading of specifics, but only enough facts to state a claim to relief that is plausible on

its face.” In Swierkiewicz v. Sorema N. A., 534 U.S. 506 (2002) the Supreme Court made clear that at the

stage of pleading, a plaintiff has no evidentiary burden, only the burden to plead a plausible claim.3

This Court has explained that a “complaint is only required to set forth a short and plain statement of

the claim, in order to give the defendant fair notice of the claim and the grounds upon which it rests.

Evangelou v. District of Columbia, 901 F.Supp.2d 159, 163 (D.D.C. 2012). Further, “it is not necessary

for the plaintiff to plead all elements of his . . . case in the complaint.” Id. quoting Swierkiewicz, 534

U.S. at 511–14. Nor must a plaintiff “plead law or match facts to every element of a legal theory.”

Evangelou v. District of Columbia, 901 F.Supp.2d at 163.




3 The Court in Twombly examined its decision in Swierkiewicz and rejected the argument that its decision in Twombly was
inconsistent with its holding in Swierkiewicz because the Court of Appeals in Swierkiewicz had improperly imposed a
heightened pleading standard by requiring the plaintiff to plead facts he would need at the trial stage. In contrast, Twombly
only requires “enough facts to state a claim to relief that is plausible on its face” and not evidentiary facts necessary to state a
prima facie case.
         Case 1:18-cv-01928-JDB Document 15 Filed 11/21/18 Page 7 of 21



        The Supreme Court in Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) explained that a claim is

facially plausible when the pleaded factual content “allows the court to draw the reasonable inference

that the defendant is liable for the misconduct alleged.” Under Twombly and Iqbal, a plaintiff is only

required to plead sufficient factual matter, accepted as true, to state a claim to relief that is plausible on

its face. Iqbal 556 U.S. at 678.

        “In evaluating a motion to dismiss, the Court must ‘treat the complaint’s factual allegations as

true ... and must grant plaintiff the benefit of all inferences that can be derived from the facts alleged.”

Sparrow v. United Air Lines, Inc., 216 F.3d 1111, 1113 (D.C.Cir.2000) (quoting Schuler v. United

States, 617 F.2d 605, 608 (D.C.Cir.1979)) (internal citation omitted); see also Jerome Stevens Pharms.,

Inc. v. FDA, 402 F.3d 1249, 1253 (D.C.Cir.2005). The notice-pleading rules are ‘not meant to impose a

great burden on a plaintiff,’ Dura Pharm., Inc. v. Broudo, 544 U.S. 336, 347, 125 S.Ct. 1627, 161

L.Ed.2d 577 (2005), and he must, therefore, be given every favorable inference that may be drawn from

the allegations of fact.” Kenley v. D.C., 83 F. Supp. 3d 20, 29 (D.D.C. 2015) (quoting Bell Atlantic

Corp. v. Twombly, 550 U.S. 544, 584, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007)).

        Importantly, federal courts have long recognized that Rule 12(b)(6) dismissals are disfavored to

the extent a complaint raises a novel claim. In such instances, the trial court should allow further factual

development. “To the extent Plaintiffs’ claims do ‘not fall within the four corners of our prior case law,’

this “does not justify dismissal under Rule 12(b)(6). On the contrary, Rule 12(b)(6) dismissals ‘are

especially disfavored in cases where the complaint sets forth a novel legal theory that can best be

assessed after factual development.’ McGary v. City of Portland, 386 F.3d 1259, 1270 (9th Cir.2004)

(quoting Baker v. Cuomo, 58 F.3d 814, 818–19 (2d Cir.1995), vacated in part on other grounds, 85 F.3d

919 (2d Cir.1996) (en banc)). See also 5B Charles Alan Wright & Arthur R. Miller et al., Federal

Practice & Procedure § 1357 (3d ed.2015) (noting that courts should ‘be especially reluctant to dismiss

on the basis of the pleadings when the asserted theory of liability’ is ‘novel’ and thus should be
         Case 1:18-cv-01928-JDB Document 15 Filed 11/21/18 Page 8 of 21



‘explored’). Indeed, as the law ‘firm[s] up’ in unsettled areas, ‘it may be more feasible to dismiss weaker

cases on the pleadings;’ otherwise, plaintiffs should be given ‘an opportunity to develop evidence before

the merits are resolved.’” Wright v. North Carolina, 787 F.3d 256, 262 (4th Cir. 2015) (quoting Metts v.

Murphy, 363 F.3d 8, 11 (1st Cir.2004)).

       Under Twombly and Iqbal, the Plaintiff’s claims are sufficiently pled under Rule 8. The

complaint contains factual averments that are not labels, naked assertions or simply conclusions.    Far

from “unadorned, the-defendant-unlawfully-harmed-me accusations,” the complaint contains averments

with the type of factual content that would more than permit this court to draw the reasonable inference

that the defendants are liable for the misconduct alleged. Even though neither Twombly or Iqbal require

“detailed factual allegations,” the complaint contains the factual heft that would nudge the complaint

from being merely possible to probable. The averments are informed by physical evidence, including

hours of interrogation tapes, other video surveillance evidence and police documents identifying the

likely killer, who is also captured on video.

       The video interrogation evidence documents the fabrication claim. The course of events in the

criminal case document the suppression of the Brady evidence. It should not go unmentioned that Mr.

Montgomery is deceased and is unable to provide evidence in support of his claims and the Defendants

are in sole possession of any other corroborating police documents such as emails and other documents

that would further establish the contours of their unconstitutional misconduct. The allegations in this

complaint are not fanciful or hypothetical. Instead, they reveal a course of conduct by police officers that

included fabricated evidence, as shown and revealed in the interrogation tapes, suppression of evidence

and rank and odious unlawful discrimination. At a minimum, dismissal is not warranted until there is

further factual development. The District has also taken the position that the ADA does not apply to

police interrogations. ECF 10 at 12. But this assertion is simply a misstatement of the law and does not

support dismissal above and beyond the government’s attack on the sufficiency of the allegations.
            Case 1:18-cv-01928-JDB Document 15 Filed 11/21/18 Page 9 of 21



        In all but word the government seeks to impose on the Plaintiff the very type of heightened

pleading requirement that was rejected in Swierkiewicz and again in Twombly. Finally, even when a

complaint alleges municipal liability under Monell v. Department of Social Services of City of New York,

436 U.S. 658 (1978), a federal court may not apply a “heightened pleading standard,” more stringent

than usual pleading requirements of plausibility pleading. See Odom v. District of Columbia, 248 F.

Supp.3d 260 (D.C. D.C. 2017) (explaining there is no heightened pleading requirement for Monell

claims and citing Leatherman v. Tarrant County Narcotics Intelligence & Coordination Unit, 507 U.S.

163 (1993) and Atchinson v. District of Columbia et al., 73 F.3d 418, 421 (D.C. Cir. 1996)).

                                               ARGUMENT

   I.        This Court Should Deny Defendants’ Motion Regarding Count IV Because Plaintiff
             Has Properly Pled All Elements of a § 1983 Fifth Amendment Violation

   To properly plead a violation under 42 U.S.C. § 1983, “a plaintiff must prove two elements: (1) that

the defendant deprived him of a right secured by the Constitution and laws of the United States and (2)

the ... defendant deprived him of this constitutional right under color of ... State [law].” Rockefeller v.

U.S. Court of Appeals Office, for Tenth Circuit Judges, 248 F. Supp. 2d 17, 24 (D.D.C. 2003) citing

Adickes v. Kress & Co., 398 U.S. 144, 150 (1970). The Defendants’ motion does not challenge whether

the Defendants acted under the color of law. See ECF 10. Thus, the only issue before this Court is

whether Plaintiff has properly plead a constitutional violation. Plaintiff has properly pled a Fifth

Amendment violation in Count IV by alleging that Defendants Nasr and Wise suppressed materially

exculpatory evidence by, inter alia:

        •    Deliberately concealing evidence during his testimony at the preliminary hearing that there
             was another male seated at the bus stop with the decedent in the minutes leading up to the
             murder. ECF 1 ¶ 52-53, 76-77, 150;
        •    Deliberately concealing a five-minute America’s Best Wings video showing the killer fleeing
             the scene. ECF 1 ¶ 60-6, 86, 150;
        •    Deliberately failing to show a key eye witness, Jermaine Jackson, the video from the exterior
             and interior of America’s Best Wings, located at 4524 Benning Road, SE, that showed the
             actual killer, who was wearing clothing that fit the description given to police by Mr.
             Jackson; ECF 1 ¶ 57-59, 150;
          Case 1:18-cv-01928-JDB Document 15 Filed 11/21/18 Page 10 of 21



         •    Concealing the identity of the first tipster that identified Mark Johnson as a suspect ECF 1 ¶
              79-80, 150;
         •    Defendants Wise and Nasr concealed for 5 years the details of an interview with another
              suspect, Mark Johnson, a man that had allegedly tried to kill his wife with a kitchen knife
              ECF 1 ¶ 81-86, 150;
         •    Defendants Wise and Nasr deliberately withheld Jermaine Jackson’s recorded statement that
              proved Mr. Montgomery did not commit the murder of Ms. Jones MECF 1 ¶ 90, 107, 150;
         •    Defendants Wise and Nasr, in their official capacity acting deliberately, recklessly or
              intentionally under color of law failed to disclose the foregoing material exculpatory
              information to prosecutors ECF 1 ¶ 150.

         When the government suppresses evidence favorable to an accused that is material to guilt or to

punishment, it violates the defendant’s right to due process. Brady v. Maryland, 373 U.S. 83 (1963); see

also Cone v. Bell, 556 U.S. 449, 451, (2009). “Brady suppression occurs when the government fails to

turn over even evidence that is known only to police investigators.” Youngblood v. W. Virginia, 547 U.S.

867, 869–70 (2006) (Internal citations omitted). Such evidence is material4 ‘if there is a reasonable

probability that, had the evidence been disclosed to the defense, the result of the proceeding would have

been different.’” Strickler v. Greene, 527 U.S. 263, 280 (1999) (emphasis added).

         Brady has always applied to “proceeding[s]” other than trials on the merits, See Id, and this

Court should reject the government’s argument that Brady only applies to verdicts on the merits. See

ECF 10 at 8 (“Based on the facts alleged in the Complaint, Plaintiff cannot establish that the

prosecution’s failure to provide exculpatory evidence earlier would have resulted in a different

verdict.”). First, the Brady case itself was not about a guilty verdict. See Brady v. Maryland 373 U.S. 83.

The factual predicate of Brady was that the exculpatory evidence suppressed by the government was

material to the appropriate sentence. See Id. Moreover, the plain language of Strickler does not limit

Brady to trial and instead applies more broadly to “proceeding[s].” Strickler v. Greene, 527 U.S. 263.




4 While notice pleading is the only requirement at this juncture, it is important to note that a “showing of materiality does not
require demonstration by a preponderance…” Youngblood v. West Virginia, 547 U.S. 867, 870 (2006). The materiality
standard is, thus, particularly low and this Court should find that Plaintiff has set forth sufficient allegations to meet this low
threshold.
          Case 1:18-cv-01928-JDB Document 15 Filed 11/21/18 Page 11 of 21



Furthermore, it has been clearly established5 in the District of Columbia that Brady evidence must be

disclosed “pretrial.” See Perez v. United States, 968 A.2d 39, 66 (D.C. 2009) (Brady’s mandate

“necessarily implies timely, pretrial disclosure.”). In fact, District of Columbia law requires that Brady

disclosures be made “well before the scheduled trial date.” Zanders v. United States, 999 A.2d 149, 164

(D.C. 2010).

         Since 1997 in the District of Columbia, a criminal defendant has had the right to present

evidence at a detention hearing challenging “[t]he weight of the evidence against the person.” Tyler v.

United States, 705 A.2d 270, 275 (D.C. 1997). District of Columbia law is consistent with the long-

standing principle that “in our society, liberty is the norm and detention prior to trial is the carefully

limited exception.” United States v. Salerno, 481 U.S. 739, 755 (1987). Therefore, a court’s authority

to detain a person before trial must be “carefully limited.” Id. Consistent with this mandate, the District

of Columbia has a detailed statute which grants the trial court a limited and carefully circumscribed

authority to hold a defendant before trial. For more than two decades, based on explicit statutory

language in the District of Columbia, judges at detention hearings have been required to consider “[t]he

weight of the evidence against the person.” D.C. Code Ann. § 23-1322(e)(2). The right to challenge the

weight of the evidence necessarily indicates a defendant’s right to present exculpatory evidence. If the

evidence were not exculpatory, there would be no reason for a defendant to present the evidence at a

detention hearing. Moreover, the right to present exculpatory evidence means that a defendant has the

right to receive such evidence and to receive it in time to make use of it. Otherwise, a defendant’s right

to present exculpatory evidence to challenge the weight of the evidence at the detention hearing would



5 This Court should address the constitutional question prior to analyzing whether the right was clearly established. “[T]he
better approach to resolving cases in which the defense of qualified immunity is raised is to determine first whether the
plaintiff has alleged a deprivation of a constitutional right at all. Normally, it is only then that a court should ask whether the
right allegedly implicated was clearly established at the time of the events in question.”). See also Barham v. Ramsey, 434
F.3d 565, 572 (D.C.Cir.2006) (noting that whether the defendant officers have violated a constitutional right of the plaintiff is
a “threshold question” in the qualified immunity analysis). Pitt v. District of Columbia, 491 F.3d 494, 511 n.3 (D.C. Cir.
2007).
          Case 1:18-cv-01928-JDB Document 15 Filed 11/21/18 Page 12 of 21



be little more than “ a promise to the ear broken to the hope, a teasing illusion like a munificent bequest

in a pauper’s will.” Edwards v. California, 314 U.S. 160, 196 (1941) (J. Jackson concurring).

          This Court should reject any argument that pretrial detention, and in this case, detention for five

years, is not prejudicial. Any restriction of liberty, whether pretrial or post-trial, must comport with due

process. This is because liberty is a fundamental right. See United States v. Salerno, 481 U.S. at 750.

Moreover, District of Columbia law clearly establishes that suppressing favorable evidence is directly

related to an individual’s right to liberty. “The suppression of exculpatory evidence denies the defendant

liberty without due process of law.” Miller v. United States, 14 A.3d 1094, 1107 (D.C. 2011). Indeed,

the restriction on a person’s liberty has always been a chief concern of the Fifth Amendment as

evidenced by its prohibition against depriving a person of “liberty” without due process. U.S. Const.

amend. V. Suppression of material exculpatory evidence is violative of due process. It necessarily

follows that restraining a person’s liberty impinges on a fundamental right and is inherently prejudicial.

Pretrial detention is clearly prejudicial and must comport with due process. In this case, the Complaint

alleges that Mr. Montgomery’s pretrial detention did not comport with due process because Defendant’s

Nasr and Wise suppressed material evidence. Thus, Plaintiff has properly pled a Fifth Amendment

violation and this Court should decline to dismiss Count IV.


    II.      The Defendants Have Waived Any Argument As It Relates To Count V And The
             Plaintiff Has Set Forth A Sufficient Claim Under § 1983 For Malicious Prosecution

          This Court should deny the Defendants’ Motion as it relates to Count V given that they did not

cite one case analyzing a § 1983 malicious prosecution claim nor did they make one argument alleging

Plaintiff’s Complaint fails to set forth a plausible claim. “It is well established in this circuit that

‘perfunctory and undeveloped arguments, and arguments that are unsupported by pertinent authority, are

deemed waived.’ Johnson v. Panetta, 953 F.Supp.2d 244, 250 (D.D.C. 2013) (citing Krupa v. Naleway,

No. 06-1309, 2010 WL 145784, *8 (N.D. Ill., Jan. 12, 2010); see Raines v. DOJ, 424 F.Supp.2d 60, 66
        Case 1:18-cv-01928-JDB Document 15 Filed 11/21/18 Page 13 of 21



n.3 (D.D.C. 2006) (noting that it is not the obligation of the court to research and construct legal

arguments open to parties, especially when they are represented by counsel). ‘It is not enough merely to

mention a possible argument in the most skeletal way, leaving the court to do counsel's work.’ Sherrod

v. McHugh, 2018 WL 4608228, at 28 (D.D.C. Sept. 25, 2018). In this case, the words, “malicious

prosecution” do not appear in Defendants’ Motion. The elements of malicious prosecution are not set

forth. No case analyzing malicious prosecution is cited. No sentence in the Motion sets forth an

argument that Plaintiff’s Complaint fails to properly allege malicious prosecution. Thus, this Court

should deem waived the Defendants’ Motion as it relates to Count V because it is perfunctory,

undeveloped and unsupported by any authority.

        Even if this Court chooses to address the merits of Defendants’ Motion regarding Count V,

“malicious prosecution is actionable under 42 U.S.C. § 1983 to the extent that the defendant’s actions

cause the plaintiff to be unreasonably seized without probable cause, in violation of the Fourth

Amendment.” Pitt v. District of Columbia, 491 F.3d 494, 511 (D.C. Cir. 2007). In this case, Plaintiff has

sufficiently alleged malicious prosecution by claiming, inter alia, “Defendants Wise and Nasr,

maliciously arrested, imprisoned and prosecuted Mr. Montgomery without probable cause, knowing

there was no evidence connecting Mr. Montgomery with the crime and that they had fabricated

statements including admissions attributable to Mr. Montgomery, concerning details about the crime of

which Mr. Montgomery was innocent. Defendants Brian Wise and Hosam Nasr in their official capacity

acting deliberately, recklessly or intentionally under color of law commenced and/or caused to be

continued a criminal prosecution against Mr. Montgomery that was lacking in probable cause, instituted

with malice, by disregarding credible evidence demonstrating Mr. Montgomery was innocent,

suppressing exculpatory evidence, fabricating and coercing a false confession, failing to adequately

investigate the crime and purposely disregarding evidence indicating someone else/Mark Johnson was

the perpetrator.” ECF 1 ¶ 154-5. The complaint avers what the interrogation video and other video
          Case 1:18-cv-01928-JDB Document 15 Filed 11/21/18 Page 14 of 21



evidence actually depicts regarding fabrication and evidence of the actual killer, all of which averments

inform the basis for Plaintiff’s 1983 malicious prosecution claim. The numerous facts averred are

neither formulaic or merely conclusory but instead detail a claim that permits this court to conclude a

plausible claim has been stated. Thus, this Court should deny Defendant’s Motion because the

Complaint sufficiently alleges facts to support a claim for malicious prosecution under § 1983.


   III.      This Court Must Decline To Impose A Heightened Pleading Standard For Monell
             Claims And The Complaint Sufficiently Alleges The District’s Failure to Train And
             Supervise MPD Officers That Interrogate Suspects

          Local governments may be sued under § 1983 for constitutional deprivations visited pursuant to

governmental custom even though such a custom has not received formal approval through the

municipality’s official decision-making channels. Monell v. Department of Social Services of City of

New York, 436 U.S. 658, 694 (1978) (“when execution of a government’s policy or custom, whether

made by its lawmakers or by those whose edicts or acts may fairly be said to represent official policy,

inflicts the injury that the government as an entity is responsible under § 1983.”).

          The Supreme Court has rejected the notion that a Plaintiff must plead more than one prior

incident to establish a Monell violation. Indeed, in …the municipality advanced the argument that “[t]o

establish municipal liability under § 1983…a plaintiff must do more than plead a single instance of

misconduct.” Leatherman v. Tarrant County Narcotics Intelligence & Coordination Unit, 507 U.S. at

167. The Court rejected this argument and found that a trial court may not require a heightened pleading

standard in cases alleging municipality liability under § 1983. There is no predicate number of previous

violations a Plaintiff must plead to give a defendant notice, under Fed. R. Civ. Pro. 8(a), of a Monell

violation. “[I]f a complaint alleging municipal liability under § 1983 may be read in a way that can

support a claim for relief, thereby giving the defendant fair notice of the claim, that is sufficient.” Baker

v. District of Columbia, 326 F.3d 1302, 1307 (D.C. Cir. 2003).
        Case 1:18-cv-01928-JDB Document 15 Filed 11/21/18 Page 15 of 21



       In properly pleading a Monell violation, a Plaintiff need only set forth allegations showing an

“affirmative link, such that a municipal policy was the moving force behind the constitutional violation.”

Baker v. District of Columbia, 326 F.3d at 1306 (Internal citations omitted). “There are a number of

ways in which a policy can be set by a municipality to cause it to be liable under § 1983: the explicit

setting of a policy by the government that violates the Constitution; the action of a policy maker within

the government; the adoption through a knowing failure to act by a policy maker of actions by his

subordinates that are so consistent that they have become custom; or the failure of the government to

respond to a need (for example, training of employees) in such a manner as to show deliberate

indifference to the risk that not addressing the need will result in constitutional violations. Id.

Specifically, a failure to train is sufficient to impose Monell liability when there is an obvious need.

Police officers routinely come into contact with persons with mental illness. The sin qua non of an

interrogation is to obtain information and if a police officer is untrained in dealing with a person with a

mental illness which prevents that person from processing information, that evidences a deliberate

indifference to the rights of suspects with mental illness. The results of that indifference cost Mr.

Montgomery half a decade of his life. In City of Canton, Ohio v. Harris, 489 U.S. 378, 390, (1989), the

Supreme Court explained “that in light of the duties assigned to specific officers or employees the need

for more or different training is so obvious, and the inadequacy so likely to result in the violation of

constitutional rights, that the policymakers of the city can reasonably be said to have been deliberately

indifferent to the need.” That is precisely the circumstances in this case. The need for training on how to

interact and, when necessary accommodate a person with a mental illness, is something so obvious that

reason would conclude the District has shown deliberate indifference. Here there was a parade of

misconduct by Defendants in carrying out their duties that supports an inference of the failure to train.

See e.g Parker v. District of Columbia, 850 F.2d 708 ( D.C.C. 1988). This case involves, fabrication,

suppression and unlawful discrimination in violation of Mr. Montgomery’s due process rights.
        Case 1:18-cv-01928-JDB Document 15 Filed 11/21/18 Page 16 of 21



Defendant Wise believed Mr. Montgomery suffered from a mental illness yet pursued his efforts to use

fabricated evidence to implicate Mr. Montgomery and completely ignored his obvious need for an

accommodation during interrogation.

       In this connection this, Court should reject the District’s reliance on Egudu v. District of

Columbia, 72 F.Supp.3d 34, 44 (D.D.C. 2014), Moore v. District of Columbia, 79 F. Supp. 3d 121, 140

(D.D.C. 2015) and Singletary v. District of Columbia, 766 F.3d 66 (D.C. Cir. 2014) at this juncture

because these three cases were in a different procedural posture. Each of those cases relied upon by the

government in support of its 12(b)(6) motion were summary judgment cases where the question before

the Court was whether genuine issue of material fact existed, not whether a plausible claim has been

stated. Notably, there was no discussion in these case as to the sufficiency of the pleadings. By asking

the Court to analyze the facts of these cases, the District seeks to impose a summary judgment standard

without the Plaintiff having had an opportunity to develop the record through discovery. This approach

has been rejected by the Supreme Court and the District of Columbia Circuit. Odom v. District of

Columbia, 248 F. Supp.3d 260 (D.D.C. 2017)

       The Complaint sufficiently sets forth a plausible Monell claim based on the District’s failure to

train and supervise detectives that interrogate suspects. The Complaint specifically identifies the

interrogation technique used by MPD detectives as the Reid technique. See ECF 1 ¶ 109, 111, 135, 167.

Further, the Complaint indicates that employing the Reid technique on mentally ill suspects can lead to

false confessions. ECF 1 ¶ 112. The Complaint further places the District on notice that it seeks to enjoin

the MPD detectives from employing the Reid technique on mentally ill suspects. See ECF at 38. Further,

the Complaint sets forth a previous incident where the Reid technique was used by MPD detective

leading to a false confession and an unlawful confinement. ECF 1 ¶ 167. Additionally, the Complaint

alleges that the District failed to train and supervise detectives that employed this technique thereby

violating the rights of mentally ill suspects. ECF 1 ¶ 165-170. Most importantly, the Complaint alleges
         Case 1:18-cv-01928-JDB Document 15 Filed 11/21/18 Page 17 of 21



that the District’s failure to train and supervise MPD officers led to the use of the Reid technique and

Mr. Montgomery’s false confession – and Mr. Montgomery’s 5.5 years of incarceration. ECF 1 ¶ 170.

Accordingly, this Court should decline to dismiss Count VII because Plaintiff has set forth a plausible

Monell claim against the District.

   IV.     Law Enforcement Interrogations Are Subject To The ADA And the Rehabilitation Act
           And Plaintiff Has Properly Pled Both Causes Of Action

   The District has misstated the law on the application of the ADA to police actions and specifically

police interrogations. This Court has previously recognized that the Americans With Disabilities Act

(ADA) allows for a cause of action against law enforcement officers that fail to accommodate a

suspect’s disability during an interrogation. See Sacchetti v. Gallaudet University, 181 F. Supp. 3d 107,

129 (D.D.C. 2016) (“In light of the case authority cited by the plaintiffs, the Court is persuaded that

when viewed in a light most favorable to the plaintiffs, the Complaint states a plausible claim under

Title II of the ADA against the MPD for failure to accommodate [a suspect’s] disabilities.”). Sacchetti

squarely addressed whether an MPD officers’ interrogation of a suspect is subject to the ADA. See Id. In

finding that the ADA was applicable, Sacchetti relied on an abundance of authority from various

jurisdictions reaching the same conclusion. Indeed, Sacchetti recognized “liability exists even though the

‘police properly investigated and arrested a person with a disability for a crime unrelated to that

disability, [because] they failed to reasonably accommodate the person’s disability in the course of

investigation or arrest, causing the person to suffer greater injury or indignity in that process than other

arrestees.’ Gohier, 186 F.3d at 1220–21 (citing Gorman v. Bartch, 152 F.3d 907, 912–13 (8th Cir.1998),

which recognized such a claim); see also J.H. ex rel J.P. v. Bernalillo Cnty., 806 F.3d 1255, 1261 (10th

Cir.2015) (assuming, without deciding, that “accommodations may be necessary when disabled

individuals are arrested,” and stating that “[i]f a police officer incurs a duty to reasonably accommodate

a person’s disability during an arrest, this duty would have a risen only if [the officer] had known that

[the arrestee] needed an accommodation.”); Tucker v. Tennessee, 539 F.3d 526, 537 (6th Cir.2008) (“As
        Case 1:18-cv-01928-JDB Document 15 Filed 11/21/18 Page 18 of 21



an initial matter, we find that the ADA applies to ... post-arrest detention ....”), abrogated on other

grounds by Anderson v. City of Blue Ash, 798 F.3d 338 (6th Cir.2015); Waller, 556 F.3d at 175

(assuming that a duty of reasonable accommodation exists under the ADA but concluding that the

requested accommodations were not reasonable under the circumstances present in that case); Bircoll v.

Miami–Dade Cnty., 480 F.3d 1072, 1085–88 (11th Cir.2007) (holding that Title II of the ADA applied

to police officers’ conduct during and after the arrest of a deaf motorist, but nevertheless concluding that

summary judgment was properly granted in favor of the county because the requested accommodations

were not reasonable). Sacchetti v. Gallaudet University, 181 F. Supp. 3d at 128–29.

   In finding that the Complaint set forth a plausible failure to accommodate claim, Sacchetti relied on

the fact that the Plaintiff alleged officers knew he suffered from a mental illness and was deaf. Id. at 129.

In this case, Plaintiff alleged, inter alia, “[t]he fact that Mr. Montgomery had a mental illness was

plainly apparent to Defendant Brian Wise who conducted the nearly six-hour interrogation of Mr.

Montgomery on February 4, 2012…[and] he knew or should have known Mr. Montgomery had a mental

illness and needed an accommodation to ensure Mr. Montgomery understood the questions asked and

the purpose of the interrogation and was able to communicate and respond to the questions directed at

him during the interrogation.” ECF 1 ¶ 16-19. The allegations in the complaint aver that the video

demonstrates Defendant Wise knew or believed Mr. Montgomery had a mental illness. As noted at the

outset of this memorandum, almost forty years, a reasonable District of Columbia police officer would

have known that it is unconstitutional to interrogate and extract a confession from a mentally ill suspect

because “our system of law enforcement should not operate so as to take advantage of a person in this

fashion.” U.S. v. Jackson, 404 A.2d 911, 924 (D.C. 1979) quoting Blackburn v. Alabama, 361 U.S. 199,

207, (1960). If Defendants were ignorant or defiant of Jackson, then they should have known of the

requirements of the ADA. Sacchetti also noted that although it was impractical for the Plaintiff to

communicate with law enforcement, it was irrelevant whether he requested an accommodation where
        Case 1:18-cv-01928-JDB Document 15 Filed 11/21/18 Page 19 of 21



the “disability is obvious and indisputably known to the provider of services [because] no request is

necessary.” Id. at 130. In this case, Plaintiff has alleged that Mr. Montgomery “repeatedly showed signs

of psychosis manifested by disorganized and jumbled thoughts and a flight of ideas”; was clearly in a

“psychotic state hearing voices and speaking to the voices he heard” and that Defendant Wise

specifically asked questions of Mr. Montgomery evidencing his knowledge that Mr. Montgomery was

mentally ill. ECF 1 ¶ 16-19; 113-118; 171-186. Accordingly, under Pierce v. District of Columbia, 128

F. Supp. 3d 250 (D.D.C. 2015) and Sacchetti v. Gallaudet University, 181 F. Supp. 3d 107, the District

had a duty to modify its law enforcement technique given Defendant Wise’s knowledge of Plaintiff’s

mental illness. The District attempts to obfuscate the fact that this Court and other courts have held the

ADA applies to police interrogation by arguing the complaint does not allege any benefit from the

program or his inability to participate. These arguments have been rejected by federal courts that have

addressed the application of the ADA to police interrogation. Seremeth v. Board of County Com’rs

Frederick County, 673 F.3d 333 (7th Cir. 2012) (explaining “since Penn. Dep't of Corrections v. Yeskey,

524 U.S. 206, 118 S.Ct. 1952, 141 L.Ed.2d 215 (1998) and of our sister circuits have determined that §

12132's words ‘or be subjected to discrimination by that entity’ are meant to be a ‘catch-all phrase that

prohibits all discrimination by a public entity, regardless of the context,’ thereby avoiding the difficult

semantics of categorizing each governmental action as ‘services, programs, or activities’ in the first part

of the disjunctive”) The immediate and direct consequence of the Defendants’ unlawful discriminatory

actions in not providing Mr. Montgomery a reasonable accommodation was that he was falsely

implicated, charged, and incarcerated for 5 and a half years.

   Accordingly, given that claims and defenses are virtually identical under the ADA and the

Rehabilitation Act, this Court should deny the District’s Motion as it relates to Counts VIII and IX
          Case 1:18-cv-01928-JDB Document 15 Filed 11/21/18 Page 20 of 21



(ADA and Rehabilitation Act, respectively) because Plaintiff has set forth a plausible claim for failure to

provide reasonable accommodations.6

                                              CONCLUSION

    This suit is about the constitutional deprivations suffered by a mentally ill homeless man that cost

him five years of his life and the trauma of being prosecuted for a crime he did not commit. The District

seeks to shield what, by any normative measure of constitutional standards, is odious and should not be

tolerated in a nation committed to the rule of law and equal justice. As noted at the outset of this

Opposition, Mr. Montgomery, was an easy target because he was homeless and mentally ill. However,

he was innocent. Rather than accord Mr. Montgomery an accommodation so the police could actually

determine the identity of the actual killer, the Defendants engaged in a course of conduct, evidenced by

video footage, that included fabricating evidence against a mentally ill man unable to understand and

communicate. The defendants knew he was mentally ill and they suppressed evidence of his innocence.

This conduct is not conduct that should be offered protection by the doctrine of qualified immunity. The

District was deliberately indifferent to the need to train its officers on how to carry out their

interrogation duties when the suspect is mentally ill. This case puts to the test the venerable principle

announced by Chief Justice John Marshall in Marbury v. Madison there is no legal wrong without a

legal remedy. See Marbury v. Madison, 5 U.S. (1 Cranch) 137(1803). Mr. Montgomery has met his

pleading obligations and the doctrine of qualified immunity is not a refuge for police officers who


6 This Court should reject the District’s argument that “the allegations in the Complaint are limited to the specific acts of the
detectives.” ECF 10 at 16. First, the District’s argument conflates a “failure to train” ADA claim with a “failure to provide
reasonable accommodations” ADA claim. Under a failure to provide reasonable accommodations claim, there is no
requirement that Plaintiff plead any conduct on the part of the District outside of the law enforcement officer’s omission. This
claim requires, instead, that a suspect’s disability be obvious to the law enforcement officer conducting the interrogation.
Sacchetti v. Gallaudet University, 181 F. Supp. 3d 107; see also Pierce v. District of Columbia, 128 F. Supp. 3d 250. Thus,
Plaintiff has no duty to make allegations outside of Defendant Wise’s actions on behalf of the District. However, even if this
Court finds Plaintiff has a duty to plead specific conduct on the part of the District, Plaintiff explicitly averred the District,
since 1994, “had actual or constructive notice of such failures to train… such that it was foreseeable that detectives and other
officers would…deny mentally ill suspects needed accommodations and thereby would deprive them of due process and their
federal right to be free of unlawful discrimination based on handicap or disability.” ECF 1 ¶ 167. Thus, even if this Court
declines to follow Sacchetti and Pierce, Plaintiff’s Complaint alleges conduct on the part of the District that evidences the
District’s failure to properly train its officers on interrogating mentally ill suspects.
         Case 1:18-cv-01928-JDB Document 15 Filed 11/21/18 Page 21 of 21



deliberately violate the constitutional rights of a citizen, even if he is impoverished, homeless, and

mentally ill.

    WHEREFORE, Plaintiff respectfully requests this Honorable Court to deny the District’s Motion

For Partial Dismissal of the Complaint. Alternatively, Plaintiff requests leave to file an amended

complaint.



                                                      Respectfully submitted,



                                                      _________/s/______________
                                                      Jason G. Downs
                                                      D.C. Bar No. 979476
                                                      Downs Collins, P.A.
                                                      20 S. Charles Street, Suite 901
                                                      Baltimore, Maryland 21201
                                                      T: 410-462-4529
                                                      F: 410-995-7200
                                                      Jason@DownsCollins.com
                                                      Counsel for Plaintiffs

Dated: November 21, 2018
